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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

    THE POLICE & FIRE RETIREMENT
    SYSTEM CITY OF DETROIT, Individually
    and on Behalf of All Others Similarly
    Situated,

                                  Plaintiff,               Civil Action No.

                           v.
                                                            JURY TRIAL DEMANDED
    ARGO GROUP INTERNATIONAL
    HOLDINGS, LTD., THOMAS A.
    BRADLEY, SCOTT KIRK, KEVIN J.
    REHNBERG, MARK E. WATSON, III,
    and JAY S. BULLOCK,

                                   Defendants.



                     CLASS ACTION COMPLAINT FOR VIOLATION
                        OF THE FEDERAL SECURITIES LAWS

       Plaintiff the Police & Fire Retirement System City of Detroit (“Plaintiff”), individually and

on behalf of all others similarly situated, by and through its attorneys, alleges the following upon

personal knowledge as to Plaintiff and Plaintiff’s own acts, and information and belief as to all

other matters. Plaintiff’s information and belief is based upon, among other things, the

investigation conducted by and through Plaintiff’s attorneys. This investigation included, among

other things: (i) a review of regulatory filings made by Argo Group International Holdings, Ltd.

(“Argo” or the “Company”) with the United States (“U.S.”) Securities and Exchange Commission

(“SEC”); (ii) a review and analysis of the Defendant’s press releases and media reports; and (iii) a

review of other publicly available information concerning Argo.




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                                   NATURE OF THE ACTION

       1.       This is a federal securities class action brought on behalf of investors that purchased

or otherwise acquired Argo common stock during the period from February 13, 2018 through

August 9, 2022 (the “Class Period”). Plaintiff seeks to recover damages caused by Defendant’s

violation of sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”).

       2.       Argo underwrites international specialty insurance products in the property and

casualty markets. Specifically, the Company claims to target “niche” markets in order to develop

a leadership position and generate “superior underwriting profits.” Argo operates under two

reporting segments, a U.S. segment and an International segment. The segment operating in the

U.S. was historically considered Argo’s “crown jewel.”

       3.       In the U.S., Argo purports to be a leader in the Excess and Surplus lines (“E&S”)

focusing on risks that the standard market is unwilling or unable to underwrite. Due to the

inherently risky nature of its specialty insurance business, investors valued the Company’s ability

to properly reserve for losses. Therefore, any statements about Argo’s underwriting and reserve

policies were highly material to investors.

       4.       During the Class Period, Defendants assured investors that they had closely

monitored Argo’s policies and could set appropriate reserves. Defendants cultivated a narrative

that Argo had a long history of successfully managing its reserves and the Company had a “prudent

reserving philosophy.”

       5.       For example, Defendant Mark E. Watson, III, who was Argo’s CEO from 2000

until November 5, 2019, touted Argo’s long-term favorable reserve development during the

Company’s earnings conference call for the fourth quarter of 2017 (“4Q17”), stating that “you can

see that for the 13th year in a row we’ve had reserve redundancies on our balance sheet and I



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believe that this is also true for the last 14 out of 15 years.” This statement was echoed throughout

the Class Period in repeated assurances about the Company’s reserves.

       6.       However, this statement, and other similar ones, were false and misleading because:

(1) Argo’s reserves were wholly inadequate and its underwriting standards were not prudent as

was represented; (ii) Argo had dramatically changed its underwriting policies on certain U.S.

construction contracts as far back as 2018; and (iii) these policies were underwritten outside of the

Company’s “core” business including in certain states and for certain exposures that were far

riskier than investors understood and that the Company no longer would service moving forward.

       7.       Ultimately, the effects of the changes in policies, all of which were known to

Defendants during the Class Period, led to massive and belatedly-disclosed adverse reserve

developments.

       8.       Between February 2022, when Argo announce that its results for the fourth quarter

of 2021 would be negatively impacted by $130 to $140 million worth of adverse prior year reserve

development and non-operating charges, and August 2022, when Defendants announced further

bad news regarding the Company’s U.S. casualty reserves, Argo’s share price declined

precipitously, losing more than 60% in value to date in 2022.

       9.       As a result of Defendant’s wrongful acts, and the precipitous decline in the market

value of the Company’s securities, the class of investors Plaintiff seeks to represent has suffered

significant losses and damages.

                                  JURISDICTION AND VENUE

       10.      The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)).




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       11.     Pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act, this Court has

jurisdiction over the subject matter of this action.

       12.     Pursuant to Section 27 of the Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. §

1391(b), venue is proper in the Judicial District. Defendants conduct business in this Judicial

District, and a significant portion of Defendants’ actions took place within this Judicial District

       13.     In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                             PARTIES

       14.     Plaintiff provides retirement allowances and death benefits for police and firemen

and their beneficiaries though a Defined Benefit Plan and Defined Contribution Plan. Plaintiff

acquired Argo securities at artificially inflated prices during the Class Period and was damaged as

a result of the federal securities law violations and false and/or misleading statements and/or

material omissions alleged herein.

       15.     Defendant Argo is a Bermuda-based international underwriter of specialty

insurance product in the property and casualty market. Argo’s Class A common stock trades in an

efficient market on the NYSE (“NYSE”) under the trading symbol “ARGO”.

       16.     Defendant Thomas A. Bradley (“Bradley”) served as Argo’s interim Chief

Executive Officer from March 7, 2022 until June 23, 2022 when he was officially appointed Argo’s

Chief Executive Officer. Bradley also has served as Argo’s Chairman of the board of directors

since February 18, 2020. In his position as Interim CEO and CEO, Defendant Bradley signed

Argo’s quarterly and other periodic filings with the SEC.



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       17.      Defendant Scott Kirk (“Kirk) has served as Argo’s Chief Financial Officer since

March 1, 2021. In his position as CFO, Defendant Kirk signed Argo’s quarterly and other periodic

filings with the SEC, including the form 8-Ks that appended quarterly earnings press releases.

       18.      Defendant Kevin J. Rehnberg (“Rehnberg”) was Argo’s former Chief Executive

Officer from February 18, 2020 until March 7, 2022 when he took a medical leave of absence from

the Company. Rehnberg officially resigned as Argo’s President, Chief Executive Officer, and

member of the board of directors as of June 23, 2022. In his position as CEO, Defendant Rehnberg

signed Argo’s quarterly and other periodic filings with the SEC.

       19.      Defendant Mark E. Watson, III (“Watson”) was Argo’s former Chief Executive

Officer from 2000 until November 5, 2019. Watson retired from his position as Argo’s Chief

Executive Officer after Argo admitted that it had not properly disclosed perks totaling more than

$3 million that had been collected by Watson in violation of SEC rules. Watson resigned from the

Argo board of directors as of December 20, 2019. In his position as CEO, Defendant Watson

signed Argo’s quarterly and other periodic filings with the SEC.

       20.      Defendant Jay S. Bullock (“Bullock”) was Argo’s former Chief Financial Officer

from May, 5 2008 until March 1, 2021.

       21.      Defendants Bradley, Kirk, Rehnberg, Watson, and Bullock are sometimes referred

to herein as the “Individual Defendants.”

       22.      Argo and the Individual Defendants are collectively referred to herein as

“Defendants.”




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                                SUBSTANTIVE ALLEGATIONS

                                             Background

        23.     Argo is an underwriter of international specialty insurance products in the property

and casualty market. Argo claims to have succeeded in insuring risk that is more complex or hard-

to-price, offering life, marine and energy, professional liability, property, cyber, marine,

construction and specialty insurance.

        24.     The Company has two reporting segments, a U.S. segment and an International

segment. Historically, the U.S. segment was considered to be Argo’s “crown jewel.” In the U.S.

Argo holds itself out as a leader in the E&S lines focusing on risks that the standard market is

unwilling or unable to underwrite. Given the inherently risky nature of Argo’s dealings with the

specialty insurance business, especially within E&S, investors considered the Company’s ability

to properly reserve for losses to be critical.

                   Defendant’s Materially False and Misleading Statements

        25.     The Class Period begins on February 13, 2018, when Argo announced the

Company’s fourth quarter (“4Q17”) and full year financial results for 2017. In the Company’s

earnings release and call, Defendants began to cultivate a narrative that Argo had a long history of

successfully managing its reserves and that the Company had a “prudent reserving philosophy.”

Specifically, during the Company’s 4Q17 earnings conference call, then CEO Defendant Watson

touted Argo’s long-term favorable reserve development, noting that “you can see that for the 13th

year in a row we’ve had reserve redundancies on our balance sheet and I believe that this is also

true for the last 14 out of 15 years.”

        26.     On May 3, 2018, Argo released its results for the first quarter of 2018 (“1Q18”).

Defendant Watson was quoted in the earnings release claiming that Argo was able to weather the



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“increasingly volatile investment environment” because of Argo’s “continuing strategy of

disciplined, differentiated underwriting….” Net income reserve development was reported at $2

million, $1 million in the U.S. business, compared with a total adverse development of $6.8 million

in the first quarter of 2017.

        27.     On June 11, 2018, Argo announced that it was establishing Argo Construction as a

standalone business in order to “enable it to evolve more quickly and grow at an accelerated pace.”

Defendant Watson stated in that release: “Our construction business continues to prosper as a

strong, growing and profitable portfolio exceeding $150 million in premium. This group has

demonstrated success primarily in the northeast and is ready to expand across the United States.”

        28.     On August 6, 2018, Argo reported financial results for the three and six months

ended June 30, 2018. Argo again reported net favorable prior year reserve developments for both

quarters, at $2.4 million for the three months ended June 30, 2018 and $4.4 million for the six

months ended June 30, 2018.

        29.     On November 5, 2018, Argo announced its results for the third quarter of 2018

(“3Q18”). Despite facing heavy catastrophe losses on a global basis, Argo continued to report

positive prior-year reserve developments in its U.S. operations which it attributed to its Liability

and Specialty lines of business.

        30.     Defendant Watson continued expressing his confidence in the Company’s reserve

development during a question and answer session during the 3Q18 earnings conference call,

stating that “[Argo’s] reserves have been developing favorably for the last 13 years, and [that]

there’s always a bit of lumpiness from 1 quarter to another.”




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       31.     On February 11, 2019, Argo announced financial results for the three months and

year ended December 31, 2018. The Company again reported favorable prior year reserve

development for both the fourth quarter and the year.

       32.     During the Company’s earnings conference call for the fourth quarter of 2018

(“4Q18”), Defendant Bullock stated that the Company’s “development on prior year reserves was

favorable by $13.9 million compared to a favorable development of $12.6 million in the fourth

quarter of 2017. Favorable development for the year was $18 million compared to $8.2 million in

2017. Both the U.S. and International segments contributed to that result.”

       33.     In the question and answer session of the same 4Q18 conference call, Defendant

Watson continued touting Argo’s reserve development stating that “if you look at our prior reserve

development over the last 14 years, it's been positive, and we're very proud of that. And we're very

focused on making sure that continues.”

       34.     On April 29, 2019, Argo announced its financial results for the first quarter of 2019.

Argo again reported net favorable prior-year reserve developments, including $4 million in the

U.S. business related primarily to the Liability and Specialty lines.

       35.     On July 26, 2019, Argo announced that results for the second quarter if 2019 would

be adversely affected by loss items primarily in its International operations. Defendant Watson

downplayed the losses stating: “The losses we reported today reflect specialty insurance businesses

that are subject to occasional volatility related to a number of larger losses that we don’t believe

are an indication of a longer-term trend.” Argo ultimately released its second quarter results on

August 5, 2019 noting that Argo had delivered “strong shareholder value despite some isolated

claims volatility…” Watson thus explained away a net unfavorable prior year reserve development

of $22.3 million as “occasional volatility” rather than a longer-term trend.



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       36.     On October 29, 2018, Argo announced that its results for the third quarter of 2019

would be adversely affected by loss items, again primarily stemming from its International

Operations. Defendant Watson assured investors that “[d]espite these challenges, we continue

experiencing strong results in our U.S. Operations, and we are seeing rate improvement across

several key lines of businesses both in the U.S. as well as in our International Operations.” When

the third quarter results were announced, on November 5, 2018, a net-unfavorable prior-year

reserve development was offset by a positive development in the U.S. business of $10.7 million,

consistent with the third quarter of the prior year.

       37.     Argo continued to push the narrative of prudent underwriting and adequate reserves

particularly in regards to the performance of its U.S. operations. On the November 7, 2019 earnings

conference call, Defendant Rehnberg distinguished the Company’s U.S. Operations:

       Looking at our third quarter results, we continue to see strong performance for our U.S.
       operations in contrast to clearly unacceptable results from our international operations. The
       U.S. posted its highest ever gross written premium figure for the quarter, continuing to
       build on the momentum of the first half of 2019, exceeding the record set in 2018. These
       results reflected nearly 10 years of intense focus by the U.S. team to refine underwriting,
       claims and operations. Given consistently strong impact of these actions, we’ve started to
       implement similar best practices company wide.

       38.     On February 11, 2019, Argo reported results for the fourth quarter and full year

2018. Net favorable prior-year reserve development was $13.9 million for the fourth quarter, $6

million of which was generated by U.S. operations. During the 4Q18 earnings conference call,

Defendants continued to mislead investors with statements regarding the strength of Argo’s

reserves. During this call, Defendant Rehnberg stated “[t]he pricing environment continues to

strengthen, core product volumes are strong, and many business units have made a very positive

turn into 2020. But at the same time, we had substantial reserve strengthening in the quarter and

full year…” On the same call, Defendant Bullock stated “[w]e conduct reserve reviews of all



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ongoing businesses each quarter. Our reserving process has not changed and includes a feedback

loop between reserving, underwriting, claims and reinsurance operations that enhances our ability

to react quickly to the findings of the reserve reviews.”

       39.     Throughout 2019, Argo responded to the comments of Voce Capital, one of its

shareholders, regarding excessive spending, including personal use of a corporate jet and other

extravagant spending by corporate executives, including Defendant Watson. Argo consistently

characterized these assertions as “falsehoods,” including in investor presentations and press

releases at various points during the year.

       40.     On April 29, 2019, Argo announced results for the first quarter of 2019. Net

favorable prior-year reserve development was $2.5 million for the quarter.

       41.     On July 26, 2019, Argo and Defendant Watson again downplayed negative results

as resulting from “occasional volatility” and represented that they were not an indication of a

“longer-term trend.” In the August 5, 2019 earnings release, Defendant Watson again described

the claims volatility as “isolated,” with negative international results offset by positive results in

U.S. Operations.

       42.      On October 8, 2019, Argo announced that its independent directors would be

conducting a review of compensation and other matters after having received a subpoena from the

SEC seeking documents regarding Company perquisites. This investigation ultimately led to the

resignation of Defendant Watson and the payment of significant sums to the SEC from both

Defendant Watson and Argo itself.

       43.     On October 29, 2019, Argo again announced that its quarterly results would be

adversely affected by several loss items related to its International Operations. Defendant Watson

assured investors that all was well with U.S. Operations: “Despite these challenges, we continue



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experiencing strong results in our U.S. Operations, and we are seeing rate improvement across

several key lines of business both in the U.S. as well as in our International Operations.”

       44.     Just three days later, on November 2, 2019, Argo issued a press release announcing

the “retirement” of Defendant Watson, effective immediately. Defendant Rehnberg was named as

Interim Chief Executive Officer. The Argo Board thanked Watson for his 20 years of service and

leadership, despite the fact that his “retirement” was precipitated by the SEC investigation into

Argo’s pay practices and the findings of its own internal investigation that Argo had failed to

disclose over $3 million in perks to Defendant Watson, including such things as tickets to the Met

Gala. The SEC ultimately announced that its own investigation had shown more that $5 million

in perks to Defendant Watson over a 5-year period, on top of over $10 million per year in cash and

stock compensation.

       45.     On November 6, 2019, Argo announced financial results for the third quarter ended

September 30, 2019.      Acting CEO Defendant Rehnberg downplayed disappointing results:

“Across the company, we are growing in profitable areas, remediating challenged lines, and taking

steps to control our loss and expense ratios.” In the first quarterly announcement since Defendant

Watson’s “retirement,” net unfavorable reserve development was suddenly $41.8 million, all of

which was attributable to International Operations.

       46.     On December 12, 2019, Argo provided an update to shareholders regarding its

“Board refreshment process.” Argo announced that five Board members would retire and that the

Board would be revising its executive compensation program in the wake of Defendant Watson’s

departure. Less than one month later, Argo announced a cooperation agreement with Voce Capital

whose criticisms Argo had previously discounted and denied.




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       47.     On February 12, 2020, Argo announced disappointing results but again assured

investors that it had taken appropriate actions in response: “The industry is experiencing rising

claims severity in several lines of business. We have taken appropriate action to adjust our current

and prior accident year loss ratios in response to these conditions and to specific information

received in the quarter. We believe the actions taken strengthen our balance sheet and position us

for a more profitable future.” In the February 24, 2020 earnings release that followed, Argo

announced that a review process of all of Argo’s operations had begun after the departure of

Watson. Defendant Rehnberg indicated that the Company had a “strong foundation” focused

primarily on “the most attractive specialty market – U.S. domiciled risks.”

       48.     On May 7, 2020, Argo announced financial results for the first quarter of 2020

(“1Q20”). Defendant Rehnberg stated: “We achieved strong premium growth and positive

operating results in the first quarter, but we are still not satisfied with overall performance.” The

1Q20 results were presented in a new format without prior year reserve development broken out

as a line item. Argo indicated that “[n]et reserve strengthening was reported in Argo’s U.S.

Operations, although the overall level of reserve development was modest in the quarter.”

       49.     On May 8, 2020, during the Company’s 1Q20 earnings conference call, Defendant

Rehnberg expressed his encouragement and confidence in Argo’s reserve development:

       Reserve development for both our U.S. and International segments was modest in the
       quarter. We're always going to have a mix of positive and negative movements in our
       reserves, but I'm encouraged by this overall result. Additionally, we employed an
       internationally recognized third-party actuarial firm to perform an in-depth review of our
       reserves across the company as of year-end 2019. I'm happy to share that their central
       estimate was in line with our carried reserve total at December 31, 2019. This is not an
       indication of any future performance, but it does give me more confidence following the
       actions we took last year.

       50.     On July 6, 2020, Argo issued a press release announcing an outside search for a

new chief financial officer to succeed Defendant Bullock.

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       51.     On August 3, 2020, Argo reported 2020 second quarter results (“2Q20”).

Commenting on the quarter, Defendant Rehnberg stated as follows: “We are please to report the

strongest quarterly underwriting income for the U.S. in Argo’s history….This demonstrates our

shift to more positive underlying performance, particularly in our core U.S. specialty business that

delivered an excellent quarter despite the broader economic challenges related to COVID-19…”

For U.S. Operations, Argo reported a small new favorable prior-year reserve development of $0.6

million.

       52.     Defendant Rehnberg continued this narrative on the 2Q20 earnings conference call

stating that “[r]eserves were again stable with just $1.8 million or 0.4 points of unfavorable

development…We're very pleased that for the second quarter in a row, reserve movement has been

modest. As we noted on our last call, we worked with a third-party actuarial firm to get an

independent review of our reserve adequacy…. The results of this in-depth review, and what we've

seen over the past 2 quarters, gives us comfort around our current reserve position.”

       53.     On October 21, 2020, Argo announced that results for the third quarter would be

negatively affected by a number of events, including COVID-19, with losses split roughly evenly

between U.S. and International Operations. Despite these negative developments, Defendant

Rehnberg commented in the November 2, 2020 press release: “We are pleased with the improved

underlying margins of our business during the quarter, as well as the actions taken to simplify

operations and exit lines that are not aligned with our strategy… While the industry faced historic

levels of catastrophe activity in the third quarter, we have continued to make progress on our

strategic objectives…. This progress combined with continued gross written premium growth

within profitable lines of business, improvement in pricing and a plan to reduce expenses

demonstrates our firm commitment to continuing on a path toward increase shareholder value.”



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       54.     During the November 3, 2020 earnings conference call, Defendant Rehnberg

continued to tout the Company’s performance in the U.S. stating: “We now have three quarters in

a row during 2020 with very modest net development. Overall, we remain comfortable with our

current reserve position.”

       55.     On February 17, 2021, Argo announced results for the fourth quarter and year ended

December 30, 2020. Despite announcing negative results due in part to COVID-19, Defendant

Rehnberg assured investors that management was “encouraged by the improved underlying

margins of our business during the quarter, as well as the actions taken to create a more focused

and efficient company.” Defendant Rehnberg added: “We expect a sustained positive growth

trajectory and continued benefits from market conditions throughout 2021, with the capital to meet

those opportunities.”

       56.     In 2021, the Company announced a new CFO, Defendant Kirk. After beginning

his employment on February 8, 2021, Defendant Kirk noted that reserve development “was

negligible in the first quarter of 2021 and marks the fifth quarter in a row that net prior year reserve

movements have been small.”

       57.     In announcing second quarter results for 2021 (“2Q21”) on August 2, 2021,

Defendant Rehnberg continued to assure investors that the Company was headed in the right

direction: “We believe the improvement in underwriting results this quarter is further evidence

that the actions we have taken in the last two years are the right ones. This positive momentum is

supported by our expense focus and positions us to take advantage of market opportunities and

execute on our targeted growth strategy.”

       58.     Further, during a question and answer session of the 2Q21 earnings conference call,

Defendant Kirk touted Argo’s robust reserving process:



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       I'll go back to the fact that we have a robust reserving process. Clearly, we look back at all
       of the trends that are there. I mean, yes, there are always going to be ups and downs across
       various lines and across various years, but the reality is that I think we remain very
       comfortable with our reserving position as it stands.

       59.        On November 2, 2021, Argo announced results for the third quarter of 2021

(“3Q21”). Argo attributed improved net income to “continued strong growth in the ongoing

business and noted that “market conditions remain favorable for continued growth.” Defendant

Rehnberg commented: “Argo continues to pursue profitable growth, improve underwriting

margins, reduce volatility and maintain disciplined expense management… The successful

implementation of our strategy is evidenced in our financial performance. As we continue to

optimize our business mix, the underlying strength of our core lines of business is more clear.”

Argo reported net unfavorable reserve development of $6.2 million. Of that total, only $0.2 million

was attributable to its U.S. Operations.

                                       Disclosure of the Truth

       60.        Less than three months after assuring investors of “continued strong growth in the

ongoing business,” on February 8, 2022, Argo issued a press release announcing that its fourth

quarter results for 2021 (“4Q21”) would be negatively impacted by $130 to $140 million worth of

adverse prior year reserve development and non-operating charges. Specifically, the Company

disclosed that:

       Argo expects net adverse prior year reserve development to be in the range of $130 million
       to $140 million for the 2021 fourth quarter. Prior year adverse development was the result
       of the recently concluded fourth quarter 2021 reserve review. The largest reserve increases
       were related to construction defect claims within Argo’s U.S. Operations, in addition to
       reserve increases in the Run-off segment. The prior year reserve increase for construction
       defect primarily related to the 2017 and prior underwriting years in business lines that have
       either been significantly remediated or discontinued.

       61.        Argo announced additional non-operating charges of $60 million to $70 million

resulting in part from Argo’s “ongoing strategic review.”

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       62.     On this news, the price of the Company’s common stock fell $7.11 per share, or

13.7%, to close at $44.76 per share on February 9, 2022. On February 10, the stock declined to

$42.82 per share, for a two-day drop of $9.05 per share, or 17.5%, wiping out over $315 million

in market capitalization.

       63.     On February 22, 2022, Argo issued a press releasing discussing its 4Q21 and fiscal

year 2021 financial results. Argo reported a 4Q21 net loss attributable to common shareholders of

$118.8 million or $3.41 per diluted common share. Net adverse prior year reserve development

for the fourth quarter came in at $132.3 million. Argo noted that it had experienced net adverse

prior year reserve development in both the U.S. Operations and Run-off Lines which was partially

offset by favorable prior year reserve releases in International Operations.

       64.     The next day, February 23, 2022, Argo held an earnings conference call to discuss

these results. After reviewing the Company’s reserve process, Defendant Rehnberg stated that

approximately $77 million of the adverse prior year development was driven by construction

defect claims within Argo's U.S. operations, contradicting what had been disclosed consistently

throughout the Class Period. Defendant Rehnberg disclosed to the investors for the first time that

most of the reserve increase was associated with policies written outside Argo’s “core” business

and that the Company had started strengthening underwriting guidelines in this area as early as the

end of 2017, including restricting policies in certain states:

       A large portion of the reserve increase for a construction defect was associated with
       businesses that have either been discontinued, including contract binding in October of
       2021, or have been significantly remediated. The remediated portion was previously
       underwritten by our casualty business. We established Argo Construction from the
       standalone business unit in June of 2018 to focus on the construction market with a greater
       depth of talent and knowledge. Most of the claims associated with contract binding and
       casualty were written outside of the core construction business. Over 95% of the
       construction defect prior year, adverse development in 2021, fourth quarter applied to 2017
       and prior years.



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       We started taking underwriting action on construction defects at the end of 2017, including
       strengthening underwriting guidelines and placing significant restrictions on certain states
       and exposures. Much of the adverse reserve development was a result of analyses
       performed in the fourth quarter, which included, among other things, new and/or updated
       information received relating to construction defect claims.

       65.     During the question and answer portion of the call, an analyst from Raymond James

called out Defendant Rehnberg’s attempt to downplay the reserve charge by highlighting

improvements in Argo’s International Operations:

       The progress that you've made in international … is to be applauded [but] we can't really
       use that to sugar coat the surprise reserve charge … in the U.S. business which had been
       thought of traditionally as one of the crown jewels of the Company.

                                     ***

       And then between November and then February this year, all of a sudden, you uncover this
       … black hole of this reserve charge that you've announced. I guess my question is, what
       happened? … And then secondly, how can we gain confidence? That we -- it feels like we
       might have to wait until the fourth quarter of 2022 before we -- when you get through
       another annual reserve review before we have any visibility on whether things have
       stabilized or not.

       66.     In response to the analyst, Defendant Rehnberg stated:

       And we started some underwriting actions in the end of 2017 when a task force was
       convened on CD [construction defect], which had previously been underwritten in our
       liability area, and which includes construction and in our contract lending line of business.
       So we broke out construction as a separate business and started underwriting more
       specifically on this business and changed the underwriting guidelines around what had
       happened. So the book we have today is not as exposed. It's got different -- underwriting
       terms and conditions, different approaches to it. So while I understand there's a concern
       about it, we have been working on the underwriting side of this for the past five years. And
       we mentioned in the recent years, it has been performing according to expectations.

       67.     On August 8, 2022, Argo announced that it had entered into a Loss Portfolio

Transfer (“LPT”) agreement with a wholly owned subsidiary of Enstar Group Limited (“Enstar”)

covering a majority of the company’s U.S. casualty insurance reserves. Enstar’s subsidiary agreed

to provide ground up cover of $746 million of reserves, and an additional $275 million of cover in

excess of $821 million, up to a policy limit of $1.1 billion. Argo, however, will retain a loss

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corridor of $75 million up to $821 million. Furthermore, Argo announced that it anticipated

recognizing an after-tax charge of approximately $100 million in connection with the transaction

in the third quarter of 2022.

       68.     The next day, on August 9, 2022, Argo held its second quarter 2022 earnings

conference call. During this call, Defendant Bradley commented on the Enstar Transaction:

       We continue to explore a wide range of potential options to maximize shareholder value
       and take advantage of opportunities in the market. Consistent with that objective, we are
       entering into a loss portfolio transfer with Enstar, which covers the majority of our US
       casualty insurance reserves, including construction relating to accident years 2011 to 2019.

Argo was thus reinsuring direct U.S. casualty insurance portfolios, including construction, having

consistently represented that reserves were adequate and that its U.S. Operations were strong

throughout the Class Period.

       69.     An analyst from Dowling & Partners asked about the anticipated $100 million

charge and “whether it “assume[s] then that you’re booking $75 million loss corridor up to the

attachment point of the ADC with Enstar?” Defendant Kirk responded: “No, that does not assume

we’re booking the $75 million.”

       70.     On August 10, 2022, based on concerns with the LPT agreement with Enstar, an

analyst at Raymond James downgraded Argo to Market Perform from Outperform. The analyst

noted: “there are now additional uncertainties associated with the $75M loss corridor retention

which could act as overhang on the outlook for the next 12-24 months."

       71.     On this news, the price of the Company’s common stock declined $9.12 per share,

or 28.3%, from an August 8, 2022 closing price of $32.22 to close at $23.10 per share on August

10, 2022. That drop caused the Company’s market capitalization to fall another $320 million.

Argo’s stock price is down more than 60% this year, trading near its 52-week low.




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       72.     Throughout the Class Period, Defendants made material misstatements and failed

to disclose material facts regarding Argo’s reserves and changes within its U.S. Operations.

Defendants repeatedly touted their experience when it came to successfully managing reserves,

stating that reserves were assessed quarterly and touting a “robust reserving process.” When

announcing any unfavorable reserve development in its International segment during the Class

Period, Defendants still assured investors that, after that adjustment, they were comfortable with

their position. Defendants assured investors that “there should be a renewed confidence in Argo’s

outlook,” especially with respect to its core U.S. Operations.

       73.     With respect to Argo Construction specifically, Defendants noted that “it continues

to exceed our expectations” without disclosing, as was belatedly revealed in February 2022 that

the Company had been “working on the underwriting side of this for the past five years.” It was

only when Defendants could not hide the inadequate reserves that Argo abruptly announced a

massive charge.

       74.     At no point during the Class period did Defendants disclose anything about

construction defect claims or that it had been “working on the underwriting side” of the

construction business for five years. Further, a charge of this magnitude, coupled with a massive

transfer to Enstar, indicates that Defendants were hiding the problems in the construction defect

business for several years.

                      PLAINTIFF’S CLASS ACTION ALLEGATIONS

       75.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

acquired Argo securities during the Class Period from February 13, 2018 through August 9, 2022

and were damaged upon thereby (the “Class”). Excluded from the Class are Defendants herein,



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the officers and directors of the Company, at all relevant times, members of their immediate

families and their legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.

        76.       The members of the class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Argo securities were actively traded on the NYSE.

While the exact number of Class members is unknown to Plaintiff at this time and can be

ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

thousands of members in the proposed Class. Record owners and other members of the Class may

be identified from records maintained by Argo or its transfer agent and may be notified of the

pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        77.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                 whether the federal securities laws were violated by Defendants’ acts as alleged

                  herein;

                 whether statements made by Defendants to the investing public during the Class

                  Period misrepresented material facts about the business, operations and

                  management of Argo;

                 whether the Individual Defendants caused Argo to make false and misleading

                  financial statements during the Class Period;

                 whether Defendants acted knowingly or recklessly in issuing false and misleading

                  financial statements;


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                whether the Defendants’ conduct complained of herein artificially inflated the

                 prices of Argo securities during the Class Period; and

                to what extent the members of the Class have sustained damages and what is the

                 proper measure of damages.

       78.       Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       79.       Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests antagonistic to or in conflict with those of the Class.

       80.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation makes it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

                                        LOSS CAUSATION

       81.       Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.

       82.       During the Class Period, Plaintiff and the Class purchased Argo common stock at

artificially inflated prices and were damaged thereby. The price of the Company’s common stock

significantly declined when the misrepresentations made to the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses.


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                                             COUNT I

           (Violations of Section 10(b) of the Exchange Act Against All Defendants)

         83.    Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

         84.    During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and did (i) deceive the investing public, including plaintiffs and

other Class members, as alleged herein; and (ii) cause Plaintiff and other Class members to

purchase Argo securities at artificially inflated prices. In furtherance of this unlawful scheme, plan

and course of conduct, Defendants, and each defendant, took the actions set forth herein.

         85.    Defendants (i) knowingly or recklessly engaged in acts transactions, practices and

courses of business in order to defraud Plaintiff and the class members; (ii) made various untrue

statements of material facts; and (iii) engaged in devices, schemes and artifices to defraud in

connection with the purchase and sale of securities. All Defendants named are sued either as

primary participants in the illegal conduct charged herein or as controlling persons as alleged

below.

         86.    Each of the Defendants engaged and participated in the continuous conduct to

conceal material information about Argo’s ability to properly reserve for losses as specified herein.

Defendants directly or indirectly issued quarterly and annual reports, SEC filings, press releases

and other statements and documents, including statements made to securities analysts and the

media that influenced the market for Argo’s securities. Such statements were materially false and

misleading in that they concealed the truth about Argo’s finances and business prospects.

         87.    Defendants had actual knowledge of the materially false and misleading statements

or acted with reckless disregard for the truth in that they failed to ascertain and to disclose such



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facts, even though such facts were available to them. Defendants committed said acts willfully or

with reckless disregard for the truth. Additionally, each Defendant knew or recklessly disregarded

the truth that material facts were being misrepresented as detailed above.

       88.     Evidence that Defendants acted knowingly or with reckless disregard for the truth

lies within Defendants’ knowledge and control. As the senior managers and/or directors of Argo,

each of the Defendants (i) had control over the Company’s public statements and filings; (ii) were

privy to the creation and reporting of the Company’s public filings; and (iii) had knowledge of the

Company’s dissemination of false information to investors, which they knew and/or recklessly

disregarded was materially false.

       89.     The Individual Defendants are both directly and indirectly liable for the wrongs

complained of herein. As a result of the dissemination of the false and misleading reports, filings,

and releases, the market price of Argo securities was artificially inflated during the Class Period.

Unbeknownst to them, Plaintiff and other members of the Class purchased or acquired securities

at artificially inflated prices and relied upon the price of the securities, the integrity of the market

for the securities and/or upon statements disseminated by Defendants, and were damaged thereby.

       90.     During the Class Period, Plaintiff and other members of the Class were ignorant of

the falsity of Argo’s misrepresentations. Had they known the truth, they would not have purchased

or otherwise acquired said securities, or would not have purchased or otherwise acquired them at

the inflate prices that were paid.

       91.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act.

       92.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

other members of the Class suffered damages in connection with their respective purchases and

sales of the Company’s common stock during the Class Period.



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                                            COUNT II

    (Violations of Section 20(a) of the Exchange Act Against the Individual Defendants)

        93.     Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

        94.    The Individual Defendants were controlling persons of Argo within the meaning of

Section 20(a) of the Exchange Act as alleged herein. Due to their senior positions, each of the

Defendants knew the adverse non-public information about Argo’s misstatements about its

reserves and false financial statements.

        95.    As officers and/or directors or a publicly owned company, The Individual

Defendants had a duty to disseminate accurate and truthful information with respect to Argo’s

financial condition and results or operations. Defendants also had a duty to correct any materially

false or misleading public statements issued by Argo.

        96.    During the Class Period, the Individual Defendants exercised their power and

authority to cause Argo to engage in the wrongful acts complained of herein. In this capacity, they

participated in unlawful conduct alleged which artificially inflated the market price of Argo

securities.

        97.    By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by Argo.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment against Defendants as follows:

    A. Determining that this action is proper under Rule 23 of the Federal Rules of Civil

        Procedure;




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  B. Requiring Defendants to pay compensatory damages to Plaintiff and the Class for all

     damages caused by Defendants’ wrongdoing;

  C. Awarding Plaintiff and the other members of the Class prejudgment and post-judgment

     interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

  D. Such other and further relief as the Court may deem proper.

                              DEMAND FOR TRIAL BY JURY

     Plaintiff hereby demands a trial by jury.


Dated: October 20, 2022              Respectfully submitted,

                                     /s/ Daniel L. Berger
                                     Daniel L. Berger
                                     Karin E. Fisch
                                     GRANT & EISENHOFER P.A.
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                                     Counsel for Plaintiff




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                           UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

 THE POLICE & FIRE RETIREMENT
 SYSTEM CITY OF DETROIT, Individually
 and on Behalf of All Others Similarly                Civil Action No.:
 Situated,

                            Plaintiff,                CERTIFICATION ON BEHALF OF
                                                      THE POLICE & FIRE RETIREMENT
         v.                                           SYSTEM CITY OF DETROIT
 ARGO GROUP INTERNATIONAL          CLASS ACTION
 HOLDINGS, INC., THOMAS A.
 BRADLEY, SCOTT KIRK, KEVIN J.
 REHNBERG, MARK E. WATSON, and JAY
 S. BULLOCK,

                            Defendants.

       I, David Cetlinski, on behalf of The Police & Fire Retirement System City of Detroit

(“Detroit P&F”), certify pursuant to 28 U.S.C. § 1746 and 15 U.S.C. § 78u-4 as follows:

       1.        I am the Executive Director of Detroit P&F. I am familiar with the matters set forth

herein and am duly authorized to make this certification on behalf of Detroit P&F.

       2.        I have reviewed the securities class action complaint against Argo Group

International Holdings, Inc., Thomas A. Bradley, Scott Kirk, Kevin J. Rehnberg, Mark E. Watson,

and Jay S. Bullock with Detroit P&F’s legal counsel, and Detroit P&F has authorized the filing of

the complaint.

       3.        Detroit P&F did not purchase or acquire the securities of Argo Group International

Holdings, Inc. at the direction of counsel or in order to participate in any private action.

       4.        Detroit P&F is willing to serve as a representative party on behalf of the proposed

class, including providing testimony at deposition and trial, if necessary.




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Argo Group International Holdings, Ltd. -- Schedule A
Police & Fire Retirement System of the City of Detroit
ISIN:             BMG0464B1072
Ticker:           ARGO
Class Period:     January 7, 2020 through August 8, 2022

Beginning Holdings: 4,967 shares
                Purchases                                               Sales
  Trade Date       Quantity         Price                  Trade Date    Quantity   Price
    01/07/20          1,417        $67.76                   03/23/21      2,856     $50.41
    01/08/20          1,722        $67.94                   06/22/21      1,384     $52.69
    02/25/20          3,061        $61.29                   09/21/21       953      $50.89
    03/04/20          2,365        $54.74
    04/28/22          2,399        $42.35
    04/29/22          1,026        $42.49
    05/02/22           135         $42.40
    05/03/22          1,873        $42.48
    05/04/22           249         $42.49
    05/19/22          1,461        $41.79
    05/20/22           609         $42.65
    06/07/22           615         $43.32
    06/08/22          1,186        $42.76
